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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

 BROIDY CAPITAL MANAGEMENT, LLC and
 ELLIOTT BROIDY,
                                                            Case No. 19-cv-00150-DLF
                                        Plaintiffs,

                           v.

 NICOLAS D. MUZIN, JOSEPH ALLAHAM,
 GREGORY HOWARD, STONINGTON
 STRATEGIES LLC,

                                        Defendants.

   JOINT NOTICE REGARDING THE COURT’S APRIL 15, 2024 MINUTE ORDER

        The Parties, by counsel, submit this Joint Notice in response to the Court’s April 15, 2024

Minute Order regarding materials that should remain under seal following resolution of The State

of Qatar’s Motion to Reconsider (ECF No. 175) and Plaintiffs’ Cross-Motion to Compel (ECF No.

185).

        1.     In August 2023, Plaintiffs Broidy Capital Management, LLC and Elliott Broidy

(collectively “Plaintiffs”) and the State of Qatar filed four motions to seal: (1) Qatar moved to seal

its privilege log (ECF No. 184); (2) Plaintiffs moved to seal the portions of their Cross-Motion to

Compel that described, and attached as exhibits, documents that had been designated by Defendant

Stonington Strategies LLC (“Stonington”) as confidential pursuant to the parties’ Protective Order

(ECF No. 185); (3) Qatar moved to seal the portions of its Response to Plaintiffs’ Cross-Motion

to Compel that quoted, or described documents contained in, Qatar’s privilege log (ECF No. 193);

and (4) Plaintiffs moved to seal the portions of their Reply in Further Support of Plaintiffs’ Cross-

Motion to Compel that referenced Qatar’s privilege log descriptions (ECF No. 196).
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       2.      On August 25, 2023, the Court ordered Qatar to submit the documents described in

Qatar’s privilege log for in camera review (Aug. 25, 2023 Minute Order). Qatar complied with

the Court’s Minute Order on August 30, 2023 (ECF No. 204) by submitting physical documents

to the Court via hand delivery. The documents described in Qatar’s privilege log thus were not

filed on the docket and were not the subjects of the above-referenced motions to seal.

       3.      On October 13, 2023, the Court issued an Omnibus Order (ECF No. 230), denying

the above-referenced motions to seal (ECF Nos. 184, 186, 193, and 196) to the extent they relied

on Qatar’s assertions of privilege (ECF No. 230 at 2–4). As to the remainder of the motions, which

sought to seal documents and information produced by the Parties in discovery that “appear[ed] to

contain personal and other information that raises individual privacy concerns or is otherwise

especially sensitive,” the Court directed the Parties to “meet and confer and propose any

appropriate redactions, with supporting authority, for the Court’s consideration” (ECF No. 230 at

4). The Court’s Omnibus Order thus resolved Qatar’s requests for confidential treatment and left

only the Parties’ objections to portions of Plaintiffs’ prior submissions to be resolved.

       4.      Consistent with that Order, Stonington conferred with Plaintiffs regarding redaction

of two documents within Plaintiffs’ Cross-Motion to Compel (ECF No. 185) and covered by

Plaintiffs’ August 7, 2023 Motion to Seal (ECF No. 186). Because those documents contain

personal information and implicate the privacy of third parties, Stonington marked them as

confidential in its own productions, and submitted that those documents should remain under seal.

       5.      On October 26, 2023, Stonington filed its “Notice Regarding August 7, 2023

Motion to Seal (ECF No. 186),” proposing appropriate redactions to those two documents and

providing supporting authority, as ordered by the Court (ECF Nos. 234, 235).




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       6.      At the time, Plaintiffs “did not disagree” with Stonington’s proposed redactions.

(ECF No. 234). And, at this time, Plaintiffs likewise do not oppose Stonington’s proposed

redactions.1

       7.      In response to the Court’s April 15, 2024 Minute Order, Stonington thus

respectfully directs the Court to its prior filings (ECF Nos. 234, 235), and requests that the redacted

portions of the two documents identified in those filings remain under seal.

Dated: May 7, 2024

                                               Respectfully submitted,

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      Defendant Gregory Howard did not previously, and does not now, seek to seal any
documents that have been filed on the record.


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